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      199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                      Page I of   3   Pages



                                        UNITED STATES DISTRICT COURT
                                                                             for the

                                                    Eastern District of California

  NITED STATES OF AMERICA,
                                                                             )
                                 v.                                          )
                                                                             )         Case No.      1:18-CR-182 LJO SKO
  ~FEGO ALCALA,                                                              )


                                         ORDER SETTING CONDITIONS OF RELEASE

 ['IS ORDERED that the defendant's release is subject to these conditions: .

 l)     The defendant must not violate federal, state, or local law while on release.

 Z)     The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

 3)     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
        any change of residence or telephone number.

 4)     The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
        the court may impose.                                                  ·

        The defendant must appear at:              United States District Court, 2500 Tulare Street, Fresno, CA 93721
                                                                                             Place




        on                                       October 29, 2018 at 1:00PM before Magistrate Judge Sheila K. Oberto
                                                                  Date and Time

        If blank, defendant will be notified of next appearance.

:s)     The defendant must sign an Appearance and Compliance Bond, if ordered.
1
                '            . Case 1:18-cr-00182-DAD-SKO Document 23 Filed 09/28/18 PagePage2[2]
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LCALA, Elfego
kt. No. 18-0129M
                                                  ADDITIONAL CONDITIONS OF RELEASE
on finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
·sons and the community, it is FURTHER ORDERED that the release ofthe defendant is subject to the conditions marked below:

      (6)           The defendant is placed in the custody of:

                          Name of person or organization

            who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
            defendant at all sche~uled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
            release or disappears.

                          SIGNED:---==-=-=-...,.-:-:-----
                                    CUSTODIAN
      (7)           The defendant must:

      0             (a) report on a regular basis to the following agency:
                        Pretrial Services and comply with their rules and regulations;
      0             (b) reside at a location approved by the PSO, and not move or be absent from this residence without prior
                        approval of PSO; travel restricted to Eastern District of CA, unless otherwise approved in advance by
                        PSO;
      0             (c) report any contact with law enforcement to your PSO within 24 hours;
      0             (d) provide documentation to Pretrial Services from Immigration officials authorizing you to obtain lawful
                        employment in the United States;
     0              (e) not use or possess any identification, mail matter, access device or any identification-related material
                        other than in your own legal or true name;
     0              (f) not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                        dangerous weapon; additionally, you must provide written proof of divestment of all
                        firearms/ammunition, currently under your control;
     0              (g) not open any bank accounts, lines or credit, or credit card accounts, unless approved in advance by
                        Pretrial Services;
     0              (h) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a
                        prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                        prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be
                        used;
     0              (i) not apply for or obtain a passport or any other traveling documents during the pendency of this case;
     0              (j) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the
                        conditions of release, the following sum of money or designated property: A full equity property bond,
                        utilizing equity in property owned by Elfego Alcala;
                    (k) participate in the following Location Monitoring program component and abide by all the requirements
                        of the program, which will include having a location monitoring unit installed in your residence and a
                        radio frequency transmitter device attached to your person. You must comply with all instructions for the
                        use and operation of said devices as given to you by the Pretrial Services Agency and employees of the
                        monitoring company. You must pay all or part of the costs of the program based upon your ability to pay
                        as determined by the PSO; Curfew. You are restricted to your residence every day from 9:00p.m. to 6:00
                        a.m., or as adjusted by the Pretrial Services office or supervising officer, for medical, religious services,
                        employment or court-ordered obligations.

                    USMS SPECIAL INSTRUCTIONS:

                    (l)    have your release on bond delayed until 8:00 a.m., the following day after the posting of the property
                           bond, at which time you will report immediately in person the Pretrial Services Agency to initiate
                           supervision.
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  19C (Rev. 09/08- EDCA [Fresno]) Advice of Penalties
                                                                                   Page 3 of 3
                                                                          Page _ _ _ of _ _ _ Pages
                                                                                                            3          )
                                         ADVICE OF PENALTIES AND SANCTIONS

  iHE DEFENDANT:

  J ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

     Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a       .
   cation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
  ·isonment, a fine, or both.
     While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
  for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
   ecutive (i.e., in addition to) to any other sentence you receive.
     It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
  Jer with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
  npt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
  nidation are significantly more serious if they involve a killing or attempted killing.
     If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
  may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
           not more than $250,000 or imprisoned for not more than 10 years, or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
           more than $250,000 or imprisoned for not more than five years, or both;
     (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
     (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
     A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 ition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

   I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
ditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
forth above.




                                             Directions to the United States Marshal

:J ) The defendant is ORDERED released after processing.




                DISTRIBUTION:       COURT       DEFENDANT   PRETRIAL SERVICE     U.S. ATTORNEY      U.S. MARSHAL   1
